Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 1 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 2 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 3 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 4 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 5 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 6 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 7 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 8 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 9 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 10 of 11
Case 20-67784-jwc   Doc 57    Filed 03/02/22 Entered 03/02/22 10:10:26   Desc Main
                             Document      Page 11 of 11
